 8:06-cr-00389-LSC-FG3           Doc # 34   Filed: 01/16/07    Page 1 of 1 - Page ID # 53




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )
             vs.                               )                 8:06CR389
                                               )
LUIS JACOLA-ECHEVERRIA,                        )                  ORDER
                                               )
                    Defendant.                 )




        Before the court is the government’s Motion for Additional Time to Submit Response
[33]. Good cause being shown, the motion shall be granted. The government’s response brief
shall be due on or before January 22, 2007.

      IT IS SO ORDERED.

      January 16, 2007.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
